AO 88B (Rev. 02/14) Subpoena to Produce Docurnents, Information, or Objects or to Permit lnspection ofPremises in a Civil Action

UNITED STATES DISTRICT CoURr

 

 

for the
Northern District of Ohio
ln re: Nationa| Prescription Opiate Litigation )
Plainti}jf )
v. ) Civil Action No. l :17'MD'2804
)
)
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, ]NFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

David A. Yost, the Ohio State Auditor

T :
0 Attn: Legal Department, 88 East Broad Street, 5th F|oor, Co|umbus, OH 43215

 

(Name of person to whom this subpoena is directed)

d Production: YOU ARE CGMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
See attached duces tecum

 

Place: U|mer & Beme LLP Date and Time:
65 East State Street, Suite 1100

Columbus’ OH 43215 12/17/201810:00 am

 

 

 

[l Inspectz`on of Premz`ses.' YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Tirne:

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(0), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR
/s/ I\/lichae| N. Ungar

 

 

 

 

Signature of Clerk 0)' Deputy Clerk Attorney ’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name ofp_arty) MCK@SSO" COVP-
, who issues or requests this subpoena, are:

 

Michael N. Ungar, 1660 W 2nd St. #1100, C|eveland, OH 44113, mungar@u|mer.com, (216) 583-7000

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed Fed. R. Civ. P. 45(a)(4).

 

 

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Civil Action No. 1317"\/“3'2304

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

l received lhiS Sllprena for (name of indzvzdual and title, if any) M\[ld \5®$»{» 0 \(\ m 5 (l…@ Au d C(`OY
011 (date) lll\\zl\& .

 

l served the subpoena by delivering a copy to the named person as follows: l@\,\ §§ (V t n (K
\)

O\(\Y 3 Ne\ic\~ L&Qc`cl Ad'm\r\
on (dme) lM*`;or

lollS/¢trv\

 

 

(:l l returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’S attendance, and the mileage allowed by law, in the amount of

$

 

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: H) l bi la wm €/@/}/YUZ_Q€./l/l/l

Server s signature

151/did ill CtetneOJ/l$ ?Vm&§ §er\/er

Pr inted name and title

2862 Johnetown Rd.
Columbue, QH 43219

 

 

Server 's address

Additional information regarding attempted service, etc.:

